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  Number Title
  1      Drummond 30b(6) Deposition
  2      Drummond Representative Deposition Exhibit 4
  3      Drummond Representative Deposition Exhibit 5
  4      Affidavit of Plaintiff Michael J. Feist
  5      Deposition of Plaintiff Michael J. Feist
  6      Expert Report of J. Stewart Bland, CHP, March 23, 2020
  7      Expert Report of David Lyerla, March 23, 2020
  8      Expert Report of Kai Vetter, Ph.D., March 16, 2020
  9      Rebuttal Expert Report of Kai Vetter, Ph.D., April 2, 2021
  10     Expert Report of Anita Singh, Ph.D., March 16, 2020
  11     Rebuttal Expert Report of Anita Singh, Ph.D. April 2, 2021
  12     Rebuttal Expert Report of J. Stewart Bland, CHP, April 2, 2021
  13     Expert Report of Robert Ullrich, PhD September 22, 2020
  14     Rebuttal Expert Report of Robert Ullrich, Ph.D., April 2, 2021
  15     Expert Report of Dean Felsher, M.D., September 13, 2020
  16     Rebuttal Expert Report of Dean Felsher, M.D. April 1, 2021
  17     Expert Report of Jeffrey Zabel, Ph.D., March 6, 2020
  18     Rebuttal Expert Report of Jeffrey Zabel, Ph.D., April 14, 2021
  19     Oakbridge Development of Regional Impact (DRI), Application for
         Development Approval (ADA) Lakeland, Florida
  20     October 9, 1978 PCHD Letter to Donald Guthrie re: Field Survey
         Drummond Property
  21     July 14, 1980 PCHD Letter to Mike Yencso re: Results of Radiation
         Survey on Drummond/Lakeland Site
  22     Deposition of Drummond Expert Mark A. Travers
  23     Expert Report of Drummond Expert Jeffrey A. Klaiber
  24     Deposition of Drummond Expert Jeffrey A. Klaiber
  25     Deposition of Drummond Expert Randy A. Whicker
  26     Deposition of Expert J. Stewart Bland, CHP
  27     OSWER No. 9200.4-18 - Establishment of Cleanup Levels for CERCLA
         Sites with Radioactive Contamination
  28     OSWER 9200.4-40 Radiation Risk Assessment At CERCLA Sites: Q & A
  29     Comparison of Estimated Cancer Risks and Various Radiation
         Measurements for Radium226
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  30      September, 2011 Proposed Plan for an Interim Amendment to the
          Record of Decision for the EMF Superfund Site, FMC Operable Unit,
          Pocatello, Idaho (USEPA)
  31      Response to Gurr & Associates Sufficiency Response
  32      Expert Report of Drummond Expert Jennifer N. Pitts, CRE, January 11,
          2021
  33      Deposition of Drummond Expert Jennifer N. Pitts, CRE, January 11,
          2021
  34      Expert Report of Drummond Henry H. Fishkind
  35      Deposition of Expert Dean Felsher, M.D.
  36      Supplemental Expert Report of J. Stewart Bland, CHP, November 6,
          2020
